                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                               WINCHESTER DIVISION

SYMANTHA REED, CHARLES GOETZ,                         )
JAMES SPAULDING, WENDY WHARTON,                       )
GARY CRAWFORD, ROBBIE JOHNSON                         )
                                                      )
        Plaintiffs,                                   ) CIVIL ACTION NO: _______________
                                                      )
v.                                                    )
                                                      )
TYSON FOODS, INC., a corporation,                     )
                                                      )
        Defendant.                                    )


                                    NOTICE OF REMOVAL


        Defendant Tyson Food, Inc. (“Tyson Foods”), through counsel, files this notice of its

removal of this action to this Court, pursuant to 28 U.S.C. §§ 1331, 1332, 1441, 1442, and 1446,

and states as follows:

        1.      On October 19, 2023, Plaintiffs Symantha Reed, Charles Goetz, James Spaulding,

Wendy Wharton, Gary Crawford, and Robbie Johnson filed a complaint in the Chancery Court for

Coffee County, Tennessee, naming Tyson Foods as the sole defendant. The original action is

identified as Case No. 23CV-396.

        2.      On October 26, 2023, Tyson Foods was served with the complaint (Exhibit 1) and

the summons (Exhibit 2). A return of service was filed on November 16, 2023 (Exhibit 3). The

complaint, summons, and return of service constitute the entire state court record to date.

                A. Removal Is Proper Under 28 U.S.C. § 1331.

        3.      28 U.S.C. § 1441(a) provides that “any civil action brought in a State court of which

the district courts of the United States have original jurisdiction, may be removed by the defendant



                                                  1
FP 48726412.4
     Case 4:23-cv-00051 Document 1 Filed 11/22/23 Page 1 of 11 PageID #: 1
. . . to the district court of the United States for the district and division embracing the place where

such action is pending.”

        4.      This Court has “original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

        5.      Plaintiffs have asserted two federal claims alleging employment discrimination,

one arising under Title VII of the Civil Rights Act of 1964, as amended 42 U.S.C. § 2000e et seq.

(“Title VII”), and the other arising under the Americans with Disabilities Act, 42 U.S.C. § 12010

et seq. (“ADA”). (Ex. 1 at ¶¶ 75-90, 106-116).

        6.      This district and division of this Court embraces the Chancery Court for Coffee

County, Tennessee.

        7.      Consequently, removal is proper under 28 U.S.C. § 1331.

                B. Removal Is Also Proper Under 28 U.S.C. § 1332.

        8.      In addition, this Court has “original jurisdiction of all civil actions where the matter

in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

between . . . citizens of different States.” 28 U.S.C. § 1332(a).

        9.      Plaintiffs are citizens of Tennessee. (Ex. 1 at ¶¶ 8-13).

        10.     Tyson Foods is a Delaware corporation with its principal place of business in

Springdale, Arkansas. (Exhibit 4, Declaration of J. Gregory Grisham at ¶ 3, Attachment A). Thus,

it is a citizen of those two states, not Tennessee. See 28 U.S.C. § 1332(c)(1).

        11.     Plaintiffs allege, among other things, that “Tyson Foods’ failure to provide

religious accommodations has injured and will continue to injure Plaintiffs by discriminatorily

denying them employment and income.” (Exhibit 1, at ¶84). Plaintiffs’ complaint requests

injunctive and declaratory relief related to Tyson Foods’ COVID-19 vaccination mandate for



                                                   2
FP 48726412.4
     Case 4:23-cv-00051 Document 1 Filed 11/22/23 Page 2 of 11 PageID #: 2
alleged violations of Title VII, the ADA, the Tennessee Human Rights Act (“THRA”) and the

Tennessee Disability Act (“TDA”). (Ex. 1 at Prayer for Relief ¶¶ a-b). The complaint also requests

“[a]n order that Plaintiffs be compensated, to the extent allowable under Tennessee state and

Federal law, for their monetary damages.” Id. at ¶ c.

        12.     Under Title VII and the ADA, a successful plaintiff can recover backpay, front-pay

(if reinstatement is infeasible), compensatory and punitive damages up to a statutory cap of

$300,000 for employers with more than 500 employees, and reasonable attorneys’ fees. See 42

U.S.C. § 1981a; Shore v. Federal Exp. Corp., 777 F.2d 1155, 1159 (6th Cir. 1985).

        13.     Under both the THRA and TDA, in addition to attorneys’ fees, back pay, front pay

and compensatory damages, emotional distress damages are available. See Tenn. Code Ann. §§ 4-

21-306, 311; id. § 8-50-103(c)(2).

        14.     When the amount of damages asserted by a plaintiff is unspecified, the Sixth Circuit

requires that the defendant establish, by a preponderance of evidence, that a plaintiff’s claims meet

the amount-in controversy requirement. Gafford v. Gen. Elec. Co., 997 F.2d 150, 158 (6th Cir.

1993), abrogated on other grounds in Hertz Corp. v. Friend, 559 U.S. 77, 1029 (2010).

        15.     However, “‘the preponderance of the evidence standard does not place upon the

defendant the daunting burden of proving, to a legal certainty, that the plaintiff’s damages are not

less than the amount-in-controversy requirement.’” Smith v. Interstate Brands Corp., No. 07-2640

B, 2008 WL 11318301, at *2 (W.D. Tenn. May 1, 2008) (quoting Gafford, 997 F. 2d at 158).

        16.     In an action arising out of the same event and brought by most of the same

Plaintiffs,1 Plaintiffs Symantha Reed, Charles Goetz, James Spaulding, and Wendy Wharton,


1
  Plaintiffs Reed, Goetz, Spaulding, and Wharton have a pending lawsuit in the Western District
of Tennessee, Eastern Division. Reed, et al v. Tyson Foods, Inc., Case No. 1:21-cv-01155-STA-
jay (“Reed Case”). Plaintiff Crawford was a Plaintiff in the Reed Case, but his claims have been

                                                 3
FP 48726412.4
     Case 4:23-cv-00051 Document 1 Filed 11/22/23 Page 3 of 11 PageID #: 3
served verified Interrogatory Answers indicating they are seeking lost wages at least in the

following amounts:

                a. Symantha Reed, $1,081,6002;

                b. Charles Goetz, $2,040,0003;

                c. James Spaulding, $1,200,0004; and

                d. Wendy Wharton, $600,000.5

        17.     The Complaint alleges that the complained of actions occurred between August 3,

2021, and November 1, 2021 (Ex. 1, at ¶¶ 2-3, 26, 34-36).

        18.     Because Plaintiffs are each alleging that Tyson Foods’ violated Title VII, the ADA,

the THRA and the TDA, and “to the extent allowable under Tennessee state and Federal law, for

their monetary damages seeking to be compensated for their monetary damages” potential

backpay, with the availability of compensatory damages under the THRA and TDA and the

availability of compensatory and punitive damages for violation of Title VII and the ADA up to

the statutory cap of $300,000, and the lost wages requested by Plaintiffs Reed’s, Goetz, Spaulding,

and Wharton in the cumulative amount of $4,921,000, the amount in controversy exceeds $75,000.

See Rogers v. Wal-Mart Stores, Inc., 230 F.3d 868, (6th Cir. 2000) (finding amount in controversy

requirement was met for removal under 28 U.S.C.§ 1332 where defendant, among other things,

relied on “plaintiff[‘s] sworn responses to discovery requests stating that her amount of damages




dismissed. Plaintiff Johnson also filed a lawsuit that was removed to the Western District of
Tennessee, Eastern Division. Johnson v. Tyson Foods, Inc. and Ronda Gooch, Case No. 1:21-cv-
01161-STA-jay (“Johnson Case”). The district court dismissed all of Johnson’s claims and the
case is on appeal at the Sixth Circuit. Case No. 23-5643.
2
  Reed Response to Interrogatory No. 2, attached as Exhibit 5.
3
  Goetz Response to Interrogatory No. 2, attached as Exhibit 6.
4
  Spaulding Response to Interrogatory No. 2, attached as Exhibit 7.
5
  Wharton Response to Interrogatory No. 2, attached as Exhibit 8.

                                                 4
FP 48726412.4
     Case 4:23-cv-00051 Document 1 Filed 11/22/23 Page 4 of 11 PageID #: 4
exceeded $447,000”); see also Albury v. Daymar Colleges Grp., LLC, No. 3:11-CV-573, 2012

WL 524480, at *3 (W.D. Ky. Feb. 15, 2012) (defendants proved jurisdictional amount when class

of plaintiffs sought inter alia lost income opportunities, injunctive relief, and attorneys’ fees);

Smith, 2008 WL 11318301 at *2 (defendant’s calculation of plaintiff’s hourly wages from the time

of termination to the following year and annual benefits for which plaintiff was eligible, including

the other types of relief sought by plaintiff more likely than not exceeded $75,000); Hayes v.

Equitable Energy Res. Co., 266 F.3d 560, 571 (6th Cir. 2001), reh’g denied (Oct. 19, 2001) (a

defendant may meet its burden by relying on “extensive” relief sought by a plaintiff in the

complaint. It need not “research, state and prove the plaintiff’s claim for damages”); Walker v.

Metal Mgmt., Inc., No. 05-2780 M1/P, 2006 WL 120169, at *2 (W.D. Tenn. Jan. 17, 2006)

(defendant met its burden where plaintiff sought a “variety of forms of unspecified and open-ended

relief, including punitive damages and attorney’s fees, both of which are or, in the case of

attorney’s fees, may be considered in the amount-in-controversy determination). 6

                C. Federal Officer Removal Is Also Proper Under 28 U.S.C. § 1442(a)(1).

        19.     While removal under 28 U.S.C. §§ 1331 and/or 1332 is sufficient to remove this

matter to this Court, removal is also proper pursuant to federal officer removal, 28 U.S.C.

§ 1442(a)(1).

        20.     Under 28 U.S.C. § 1442(a)(1), a civil action may be removed to federal court if the

action is asserted against a person acting under the direction of a federal officer:

                A civil action . . . that is against or directed to any of the following
                may be removed . . . :


6
  Although the jurisdiction of the federal court is examined at the time of removal, Rogers, Inc.,
230 F.3d at 871, future compensation is included in the total amount in controversy, cf. Williamson
v. Aetna Life Ins. Co., 481 F.3d 369, 377 (6th Cir. 2007) (including statutorily authorized attorneys’
fees in amount in controversy); Naji v. Lincoln, 665 F. App’x 397, 401–02 (6th Cir. 2016).

                                                   5
FP 48726412.4
     Case 4:23-cv-00051 Document 1 Filed 11/22/23 Page 5 of 11 PageID #: 5
                (1) The United States or any agency thereof or any officer (or any
                person acting under that officer) of the United States or of any
                agency thereof, in an official or individual capacity, for or relating
                to any act under color of such office.

28 U.S.C. § 1442(a)(1) (emphasis added).

        21.     “Unlike the general removal statute, the federal officer removal statute is to be

‘broadly construed’ in favor of a federal forum.” Papp v. Fore-Kast Sales Co., 842 F.3d 805, 811

(3d Cir. 2016) (quoting In re Commonwealth’s Motion to Appoint Couns. Against or Directed to

Def. Ass’n of Philadelphia, 790 F.3d 457, 466 (3d Cir. 2015), amended (June 16, 2015)).

        22.     Federal officer removal is proper because: (1) Tyson Foods is a “person” within the

meaning of the statute who “acted under the direction of a federal officer”; (2) Tyson Foods’

actions were for or related to acts performed under color of federal office; and (3) Tyson Foods

raises a colorable federal defense. Bennett v. MIS Corp., 607 F.3d 1076, 1085 (6th Cir. 2010).

        23.     On April 28, 2020, President Donald J. Trump issued an executive order expressly

invoking his authority under the Defense Production Act (“DPA”), which instructed Tyson Foods

and other meat and poultry processing companies to stay open and continue operations, subject to

the supervision of the Secretary of Agriculture. Food Supply Chain Resources, 85 Fed. Reg. at

26,313, 2020 WL 2060381, at *1. The executive order states in relevant part:

                It is important that processors of beef, pork, and poultry (“meat and
                poultry”) in the food supply chain continue operating and
                fulfilling orders to ensure a continued supply of protein for
                Americans.… [R]ecent actions in some States have led to the
                complete closure of some large processing facilities.

                ***

                Such closures threaten the continued functioning of the national
                meat and poultry supply chain, undermining critical infrastructure
                during the national emergency.

                ***


                                                  6
FP 48726412.4
     Case 4:23-cv-00051 Document 1 Filed 11/22/23 Page 6 of 11 PageID #: 6
                [T]he Secretary of Agriculture shall take all appropriate action … to
                ensure that meat and poultry processors continue operations
                consistent with the guidance for their operations jointly issued by
                the CDC and OSHA.

Id. (emphasis added).

        24.     On May 18, 2020, the U.S. Food and Drug Administration (“FDA”) and the U.S.

Department of Agriculture (“USDA”) entered into a Memorandum of Understanding setting forth

the respective roles of each agency in utilizing the DPA to regulate food producers during the

COVID-19 pandemic, which reiterated that “actions by States or localities could lead to the closure

of food resource facilities”; such closures “could threaten the continued functioning of the national

food supply chain, undermining critical infrastructure during the national emergency”; and the

Department of Agriculture retained “exclusive delegated authority” under the DPA to issue orders

regarding domestic food producers.7

        25.     The Centers for Disease Control’s (“CDC”) COVID-19 Workplace Guidance states

that vaccination keeps the workforce healthy by preventing employees from getting COVID-19,

reduces absences due to illness, improves productivity and improves morale. The CDC also states

that vaccination is the best way to maximize protection from the Delta variant, illness,

hospitalization, and death.8

        26.     On August 13, 2021, the Occupational Safety and Health Administration

(“OSHA”) updated its Guidance on Mitigating and Preventing the Spread of COVID-19 in the

Workplace.9 In that guidance, OSHA stated that “vaccination is the key element in a multi-layered



7
  https://www.usda.gov/sites/default/files/documents/mou-between-fda-usda-dpa.pdf (emphasis
added).
8
  https://www.cdc.gov/coronavirus/2019-ncov/vaccines/recommendations/essentialworker/
workplace-vaccination-program.html
9
  https://www.osha.gov/coronavirus/safework

                                                 7
FP 48726412.4
     Case 4:23-cv-00051 Document 1 Filed 11/22/23 Page 7 of 11 PageID #: 7
approach to protect workers,” and that vaccines authorized by the U.S. Food and Drug

Administration are highly effective at protecting vaccinated people against symptomatic and

severe COVID-19 illness and death. According to the CDC, a growing body of evidence suggests

that fully vaccinated people are less likely to have symptomatic infection or transmit the virus to

others.” Id.

        27.     In that same guidance, OSHA designated “meat, seafood, and poultry processing

settings” as “high-risk” workplaces for unvaccinated and otherwise at-risk workers, which requires

that extra precautions be taken to mitigate the spread of COVD-19 including spacing workers at

least six-feet apart (“physical distancing”) and enacting physical barriers to block any face-to-face

pathways in the facility. Id.

        28.     Based on the foregoing, Tyson Foods was operating its facilities pursuant to the

Food Supply Chain Resources Executive Order relating to the DPA, as well as the Secretary of

Agriculture’s related orders. As such, Tyson Foods was “acting under the direction of a federal

officer,” 28 U.S.C. § 1442(a)(1) and “helping the Government to produce an item that it needs”

for the national defense under the DPA. Watson v. Philip Morris Companies, Inc., 551 U.S. 142,

147 (2007). Tyson Foods is also acting under the direct supervision of the Secretary of Agriculture

who was delegated power by the President to “take all appropriate action . . . to ensure that meat

and poultry processors continue operations consistent with the guidance for their operations jointly

issued by the CDC and OSHA.” 85 Fed. Reg. at 26,313, 2020 WL 2060381, at *1.

        29.     Tyson Foods’ vaccine mandate, which is consistent with CDC and OSHA guidance

to mitigate the spread of COVID-19 in the workplace and to prevent the slowing or ceasing of

operations at Tyson Foods’ facilities, was enacted under color of the President’s Executive Order,

the DPA, and the power delegated by the President to the Secretary of Agriculture.



                                                 8
FP 48726412.4
     Case 4:23-cv-00051 Document 1 Filed 11/22/23 Page 8 of 11 PageID #: 8
          30.    Tyson Foods has colorable federal defenses to the claims in the complaint including

preemption under the DPA, the aforementioned Executive Order and the Poultry Products

Inspection Act (“PPIA”), 28 U.S.C. § 467e.

          31.    The District Judge in the Reed and Johnson cases found removal was proper under

28 U.S.C. § 1442(a)(1) based on the same underlying factual allegations made in the present case.

Reed v. Tyson Foods, Inc., 2021 WL 5107725 at *7 (W.D. Tenn. Nov. 3. 2021); Johnson v. Tyson

Foods, Inc., 2021 WL 5107723 at * 7 (W.D. Tenn. Nov. 3. 2021).

          32.    This Court also has supplemental jurisdiction over Plaintiffs’ state law claims under

28 U.S.C. § 1367 since Plaintiffs’ state law claims “are so related to claims in the action within

such original jurisdiction that they form part of the same case or controversy under Article III of

the United States Constitution.”

          33.    28 U.S.C. § 1441(a) provides that removal is proper “to the district court of the

United States for the district and division embracing the place where such action is pending.” 28

U.S.C. § 1441(a).

          34.    This Court is the United States District Court for the district and division in which

the above-referenced state court action is pending, and therefore is the appropriate venue for the

purpose of removing this action. See id. 10

          35.    Section 1446 outlines the procedural requirements applicable to the removal of civil

actions. A removing defendant must (1) file a “copy of all process, pleadings, and orders served

upon such defendant . . . in such action” with the notice of removal within thirty (30) days after

receipt of the initial pleading or the service of the summons upon the defendant and (2) provide




10
     As noted supra, the Reed Case remains pending in the Western District of Tennessee.

                                                   9
FP 48726412.4
       Case 4:23-cv-00051 Document 1 Filed 11/22/23 Page 9 of 11 PageID #: 9
written notice of the filing of the notice of removal to all adverse parties and file a copy of the

notice with the clerk of the State Court. 28 U.S.C. § 1446(a), (b)(1), (d).

        36.     In accordance with 28 U.S.C. § 1446(a), attached to this notice is a copy of the

complaint, the summons, and return of service. (See Ex. 1, Ex. 2, & Ex. 3).

        37.     This notice has been timely filed within 30 days after service of the summons and

complaint on Tyson Foods.

        38.     Finally, after filing this notice of removal, Tyson Foods will promptly serve written

notice of this notice of removal on Plaintiffs and file the same with the Clerk of the Chancery

Court of Coffee County, in accordance with 28 U.S.C. § 1446(d).

        Dated this the 22nd day of November 2023.


                                                      Respectfully submitted,

                                                      FISHER & PHILLIPS LLP

                                              By:     /s J. Gregory Grisham
                                                      J. Gregory Grisham (TN BPR#013810)
                                                      1715 Aaron Brenner Drive Suite 312
                                                      Memphis, Tennessee 38120
                                                      Telephone: (901) 526-0431
                                                      Facsimile: (901) 526-8183
                                                      Email: ggrisham@fisherphillips.com

                                                      Counsel for Defendant




                                                 10
FP 48726412.4
    Case 4:23-cv-00051 Document 1 Filed 11/22/23 Page 10 of 11 PageID #: 10
                                CERTIFICATE OF SERVICE

        I, J. Gregory Grisham, hereby certify that on this, the 22nd day of November 2023, I

electronically filed the foregoing Notice of Removal with the Clerk of Court using the CM/ECF

system. I further certify that a true and authentic copy of the foregoing was also served upon

Plaintiffs’ counsel via electronic mail and U.S. Mail, addressed as follows:

                                        Derek A. Jordan
                                      The Law Firm, PLLC
                                     111 NW Atlantic Street
                                      Tullahoma, TN 37388
                                       derek@thefirm.law

                                        Robert E. Barnes
                                         BARNES LAW
                               700 South Flower Street, Suite 1000
                                     Los Angeles, CA 90017
                                 robertbarnes@barneslawllp.com

                                      Counsel for Plaintiffs

                                                               /s J. Gregory Grisham
                                                               J. Gregory Grisham




                                                11
FP 48726412.4
    Case 4:23-cv-00051 Document 1 Filed 11/22/23 Page 11 of 11 PageID #: 11
